          Case 24-42003-mxm7                  Doc 11       Filed 06/20/24 Entered 06/20/24 12:38:25                                Desc Main
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 Fill in this information to identify the case:

Debtor name         Big Horn Construction & Reclamation LLC

United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

Case number (if known)    24-42003-7
                                                                                                                            El Check if this is an
                                                                                                                                amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                             04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor's name and case number (if known).

Part 1:     Income

1. Gross revenue from business

     0 None.

      Identify the beginning and ending dates of the debtor's fiscal year,            Sources of revenue                         Gross revenue
      which may be a calendar year                                                    Check all that apply                       (before deductions and
                                                                                                                                 exclusions)

      From the beginning of the fiscal year to filing date:                           0 Operating a business                                         $0.00
      From 1/01/2024 to Filing Date
                                                                                      0 Other



      For prior year:                                                                 0 Operating a business                                         $0.00
      From 1/01/2023 to 12/31/2023
                                                                                      0 Other



      For year before that:                                                           • Operating a business                              $6,118,592.77
      From 1/01/2022 to 12/31/2022
                                                                                      0 Other



      For the fiscal year:                                                            • Operating a business                            $88,115,249.73
      From 1/01/2021 to 12/31/2021
                                                                                      0 Other


2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.


     • None.

                                                                                                                                 Gross revenue from
                                                                                                                                 each source
                                                                                                                                 (before deductions and
                                                                                                                                 exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)




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                                                                                    18 number Of known)
Debtor        Big Horn Construction & Reclamation LLC                                                                          24-42003-7




      • None.

       Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                          Check all that apply

4.   Payments or other transfers of property made within 1 year before filing this case that benefited any insider
     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
     or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
     may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
     listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
     debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      • None.

       Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5.   Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
     a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      • None

       Creditor's name and address                      Describe of the Property                                        Date                     Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a
   debt.

      • None

       Creditor's name and address                      Description of the action creditor took                         Date action was                   Amount
                                                                                                                        taken

Part 3:       Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
    List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
    in any capacity—within 1 year before filing this case.

      0 None.

              Case title                                Nature of case              Court or agency's name and                   Status of case
              Case number                                                           address
       7.1.   SEE ATTACHED LIST OF                                                                                               O Pending
              LEGAL ACTIONS                                                                                                      0 On appeal
                                                                                                                                 O Concluded



8. Assignments and receivership
    List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
    receiver, custodian, or other court-appointed officer within 1 year before filing this case.


      • None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      • None



Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 2
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 Debtor       Big Horn Construction & Reclamation LLC                                            Case number (if known) 24 42003 7
                                                                                                                               -   -




               Recipient's name and address            Description of the gifts or contributions                 Dates given                           Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     • None

      Description of the property lost and             Amount of payments received for the loss
      how the loss occurred
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106NB (Schedule
                                                       NB: Assets — Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

               Who was paid or who received               If not money, describe any property transferred              Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.     Whitaker Chalk Swindle &
                Schwartz PLLC
                301 Commerce Street, Suite
                3500
                Fort Worth, TX 76102                                                                                   5/30/2024                  $5,338.00

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.


     • None.

      Name of trust or device                             Describe any property transferred                   Dates transfers               Total amount or
                                                                                                              were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     • None.

               Who received transfer?                  Description of property transferred or                    Date transfer              Total amount or
               Address                                 payments received or debts paid in exchange               was made                            value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


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Debtor
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                                                                                   18 number (if known)
            Big Horn Construction & Reclamation LLC                                                                       24-42003-7




     • Does not apply

              Address                                                                                              Dates of occupancy
                                                                                                                   From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

     •     No. Go to Part 9.
     O     Yes. Fill in the information below.


               Facility name and address                Nature of the business operation, including type of services               If debtor provides meals
                                                        the debtor provides                                                        and housing, number of
                                                                                                                                   patients in debtor's care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

     •     No.
     O     Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?


     •     No. Go to Part 10.
     O     Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.


     • None
               Financial Institution name and           Last 4 digits of           Type of account or          Date account was                  Last balance
               Address                                  account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.



     • None

      Depository institution name and address                Names of anyone with                                                             Does debtor
                                                             access to it                                                                     still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




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                                                                                  18 number (if known)
Debtor      Big Horn Construction & Reclamation LLC                                                                       24 42003 7
                                                                                                                             -        -




     • None

      Facility name and address                             Names of anyone with                  Description of the contents                  Does debtor
                                                            access to it                                                                       still have it?


Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

    • None


Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     •      No.
     O      Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

     •      No.
     O      Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?


     •      No.
     0 Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

 Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.




   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

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                                                                                   18 number Of known)
Debtor      Big Horn Construction & Reclamation LLC                                                                     24-42003-7


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.
         12 None

      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26a.1.        Joby Grant                                                                                                      2/22/2021 to
                    4011 Marigold Lane                                                                                              3/25/2022
                    Rockwall, TX 75087
      26a.2.        Renee Vallin                                                                                                    4/29/2021 to 1/6/2022
                    1211 8th Street
                    Golden, CO 80401
      26a.3.        Susan Cherry                                                                                                    1/11/2021 to
                    1048 Fox River Lane                                                                                             12/19/2022
                    Fort Worth, TX 76120

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial statement
         within 2 years before filing this case.

         • None


    26c. List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.


         • None

      Name and address                                                                                If any books of account and records are
                                                                                                      unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

          • None

      Name and address

27. Inventories
    Have any inventories of the debtor's property been taken within 2 years before filing this case?


     •     No
     O     Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                    Date of inventory       The dollar amount and basis (cost, market,
               inventory                                                                                      or other basis) of each inventory

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                              Position and nature of any               % of interest, if
                                                                                                   interest                                 any
      Bridgelink Engineering LLC              777 Main Street, Suite 2800                          Member                                   100%
                                              Fort Worth, TX 76102

      Name                                    Address                                              Position and nature of any               °A) of interest, if
                                                                                                   interest                                 any
      Cole Johnson                            777 Main Street, Suite 2800                          President
                                              Fort Worth, TX 76102

      Name                                    Address                                              Position and nature of any               % of interest, if
                                                                                                   interest                                 any
      Cord Johnson                            777 Main Street, Suite 2800                          Secretary
                                              Fort Worth, TX 76102



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Debtor
                                                           Document      Page 7 ofCase
                                                                                   18 number (if known)
            Big Horn Construction & Reclamation LLC                                                                       24-42003-7




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?



     •      No
     O      Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

     •      No
     O      Yes. Identify below.

              Name and address of recipient              Amount of money or description and value of              Dates                Reason for
                                                         property                                                                      providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

     O      No
     •      Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation
   Bridgelink Engineering, LLC         -   2021                                                        EIN:         XX-XXXXXXX

   Big Horn Investments & Property            -   2021                                                 EIN:         XX-XXXXXXX


32 Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?


     •      No
     O      Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

 Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. M ng a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fine up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

 Executed on        June 20, 2024

                                                                 Cord H. Johnson
 Signature of individual signing on behalf of the debtor         Printed name

 Position or relationship to debtor   Authorized Representative

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
• No
0 Yes




                                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
Official Form 207
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                                                                  (2022-CV-30135)                                                   7/27/23 - Rule 69 Interrogators to Judgement
                                                                                                                                    Debtor Big Horn Construction & Reclamation




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                                                                  (2022-CV-31119) &                                                 06/06/22 - Ltr re Dispose Reclaim




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                                                                  McLennan County, TX                                               07/20/22 - Judgment
                                                                  (2023-432-4)                                                      02/17/23 - Foreign Judgment Filed




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       (C/o Greenberg, Grant&                                                                                                       lawsuit




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       Richards, Inc.)




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       AssestManagement, LLC                                      (C2021075)                                                        12/07/22 - Order appointing Receiver, RobertI




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                                                                   District Court                                                   05/17/23 - Looked-up docket; no judgment
                                                                  (A-22-854370-C)                                                   entered; case pending
                                                                                                                                                                                                  Filed 06/20/24 Entered 06/20/24 12:38:25




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                                                                  8th District Court              Nicholas                          08/05/22 - Writ ofGarnishment to KeyBank
                                                                  (CV-18440)




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       Inc. (BismarckND                                           (53-2021-CV-00149)                                                08/26/22 - ExecutedSettlement Agreement (no
       Recycling)                                                                                                                   pymts were made)
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                                                                                                                                    09/01/22 - Stipulation of Judgment
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                                                                                        05/19/22 - Ma de late settlement payments;
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            Inc.                                                 New Mexico                                                                         SettlementAgreement
Judgement                                                        (2:21-cv-00545-DHU-GJF)                                                            7/20/23 - Motion Grantedfor Defendant to pay
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Ju dgement                                                                            2:21-cv-00626-DHU-GBW




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                                                                                                                                                          7/ 14/23 - Notice of F i ling Foreign Ju dgement

             Keyhole Technologies          BCR       Collection

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          Pa lmetto Services LLC                     Collection     Gregg County, TX                        JLC/Ca llan Edq u ist                      02/16/23 - AgreedJudgment Entered




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                                                                    (c-09-CV-22-000347)                                                                10/6/2023 - Notice of DefaultOrder
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                       Somers &Watson                     BCR       Collection                                                       JLC Firm/ Ca llan Edq u ist         Settlement Agreement?
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